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                                   IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF IOWA
                                             CENTRAL DIVISION

CLIMBING KITES LLC and FIELD DAY                                      )
BREWING COMPANY LLC,                                                  )       CASE NO.            4:24-cv-202
                                                                      )
          Plaintiffs,                                                 )
                                                                      )
v.                                                                    )
                                                                      )
THE STATE OF IOWA; KELLY GARCIA,                                      )
                                                                      )
in her official capacity as Director of the Iowa                      )
Department of Health and Human Services;                              )
and THE IOWA DEPARTMENT OF                                            )       BRIEF IN SUPPORT OF
HEALTH AND HUMAN SERVICES,                                            )       PLAINTIFFS’ MOTION FOR
                                                                      )       PRELIMINARY INJUNCTION
          Defendants.                                                 )

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                                            PRELIMINARY STATEMENT

          In 2020, Iowa legalized the manufacture, distribution, and sale of consumable hemp

products within the state. Plaintiffs—who lawfully manufacture and sell canned beverages

containing tetrahydrocannabinol (or “THC”)—are two participants within this quickly emerging

market. House File 2605, enacted on May 17, 2024, caps the amount of THC contained within

any consumable product at “four milligrams [of THC] per serving and ten milligrams per

container.” It also requires manufacturers to provide certain health-related claims on the labels of

consumable hemp products, as determined by the Defendant Department of Health and Human

Services (the “Department”). The law goes into effect on July 1.

          Despite a conscious legislative effort to prevent the Department from defining potency

limits for hemp products, the Department is set to do just that, according to “guidance” issued on

June 7. The Department’s guidance is unlawful and interprets the potency limits of House File

2605 in an unreasonable manner. The stakes are high: beginning July 1—according to the

Department’s guidance—Plaintiffs will face felony criminal charges for selling products

containing “ten milligrams per container” based on a statute that permits the sale of products

containing “ten milligrams per container.” The Department must be stopped.

          Fortunately, there is a clearer route to resolve this dispute. Although Plaintiffs manufacture

and sell products regulated by Iowa’s consumable hemp statutes, their products are also “food” as

defined by the Federal Food, Drug, and Cosmetic Act (the “FDCA”). The legislature’s potency


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limits and labeling requirements are not identical to requirements under the FDCA, and therefore,

Congress expressly preempted them. 21 U.S.C. § 343-1. For the reasons set forth herein,

injunctive relief is required to declare the rights and status of Plaintiffs’ businesses prior to the

Department’s enforcement of House File 2605.

                                  FACTUAL BACKGROUND

       Congress legalized production of hemp as a commodity in the Agriculture Improvement

Act of 2018, commonly known as the 2018 “Farm Bill.” P.L. 115-334 (2018). The Iowa

legislature followed suit shortly thereafter by passing the Iowa Hemp Act. 2019 Iowa Acts ch.

130 (codified at Iowa Code chapter 204). Those laws recognize an increasingly important legal

distinction between “marijuana” and “hemp”: while both plants derive from the “cannabis sativa”

species, the difference is the concentration of tetrahydrocannabinol, or “THC”. (Declaration of

Scott Selix ¶ 4 (hereinafter “Selix Decl.”); Declaration of Dan Caraher ¶ 4 (hereinafter “Caraher

Decl.”)). Marijuana plants, by definition, contain more than 0.3% THC on a dry weight basis

while hemp plants contain 0.3% or less THC by the same measure. (Selix Decl. ¶ 5; Caraher Decl.

¶ 5). For that reason (and presumably others), Congress and the Iowa legislature made the policy

decision to exclude hemp from state and federal definitions of “marijuana,” thereby legalizing

hemp production across the state. P.L. 115-334, § 12619; 2019 Iowa Acts ch. 130, § 23.

       The 2019 Iowa Hemp Act permitted not only producing hemp within Iowa, but also

contemplated production and sale of hemp-based products within the state, such as textiles, paper,

and consumables. Id. § 2 (defining “hemp product”); id. § 7 (permitting retail sale of hemp

products).   Thus began Iowa’s nascent market of “consumable hemp:” i.e., production,

manufacture, and sale of products, intended for human consumption, that contain lawful cannabis-

or hemp-derived THC. (Selix Decl. ¶ 3; Caraher Decl. ¶ 3).



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       The following year, industry stakeholders worked alongside state policymakers to build a

statewide regulatory framework for consumable hemp products. Those discussions resulted in a

second hemp bill, passed by near-unanimous margins, formally establishing the state’s consumable

hemp program. 2020 Iowa Acts ch. 1065. The legislation maintained the definition of “hemp” as

a plant or any derivatives thereof with a maximum THC concentration of 0.3%, which mirrors

federal law. Id. § 2. It defined “consumable hemp product” as a product that could be consumed

through digestion, internal absorption, or absorption through the skin. Id. § 2. It required any

person manufacturing or selling consumable hemp products to register with the state prior to

conducting business. Id. § 11. It also required compliance with state “packaging and labeling

requirements,” to be established by administrative rule, and confirmed that any hemp product

manufactured, distributed, sold, or consumed in compliance with state law was not a controlled

substance and therefore legal under state law. Id. § 11.

       Plaintiffs are two participants in Iowa’s consumable hemp market. Climbing Kites, LLC,

was formed in 2023 and is headquartered in Des Moines, Iowa. (Selix Decl. ¶ 2). Climbing Kites

produces and sells canned beverages (also called “Climbing Kites”) that contain carbonated water,

citric acid, natural flavors, and hemp-derived cannabis oil. (Selix Decl. ¶ 6). Climbing Kites offers

beverage “versions,” which differ in terms of flavor and amount of total THC. (Selix Decl. ¶ 7).

Climbing Kites currently offers canned beverages containing 5, 10, and 20 milligrams of

cannabidiol (“CBD”) and 2.5, 5, and 10 milligrams of total THC per beverage. (Selix Decl. ¶ 8).

While current law requires Climbing Kites’ products to contain 0.3% or less THC, its products

actually contain between 0.001% and 0.003%. (Selix Decl. ¶ 9). Climbing Kites is fully licensed

and registered with the State of Iowa, has had all products reviewed and approved by the

Department of Health and Human Services, and complies with all federal guidance relating to



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hemp-derived CBD and THC. (Selix Decl. ¶ 10; see Ex. A). Climbing Kites sells its beverages

within Iowa. (Selix Decl. ¶ 11).1

       Plaintiff Field Day Brewing Company, LLC (“Field Day Brewing”) was formed in 2023

and is headquartered in North Liberty, Iowa.         (Caraher Decl. ¶ 2).    Field Day Brewing

manufactures and sells consumable hemp products; namely, canned beverages (called “Day

Dreamers”) that contain carbonated water, citric acid, natural flavors, and hemp-derived cannabis

oil. (Caraher Decl. ¶ 6). Field Day Brewing also offers different versions of the beverage in terms

of flavor and number of milligrams of total THC contained within the beverage. (Caraher Decl.

¶ 7). Field Day Brewing currently offers canned beverages containing 2, 7, and 15 milligrams of

CBD and 2, 7, and 15 milligrams of total THC per beverage. (Caraher Decl. ¶ 8). While current

law requires Field Day Brewing’s products to contain 0.3% or less THC, its products actually

contain between .001% and .003%. (Caraher Decl. ¶ 9). Field Day Brewing is fully licensed and

registered with the State of Iowa, has had all products reviewed and approved by the Department

of Health and Human Services, and complies with all federal guidance relating to hemp-derived

CBD and THC. (Caraher Decl. ¶ 10). Field Day Brewing manufactures and sells its beverages

within Iowa. (Caraher Decl. ¶ 11).

       Notably, nothing in the 2018 Farm Bill affected the Federal Food, Drug, and Cosmetic Act

(the “FDCA”) or the authority of the U.S. Food and Drug Administration (the “FDA”) to

promulgate regulations that “relate to the production of hemp under the Act.” P.L. 115-334,

§ 10113 (now codified at 7 U.S.C. § 1639r). An accurate summary of the FDA’s public statements


1
  Although the Department of Inspections and Appeals (“DIA”) was initially responsible for
administering the state’s consumable hemp program, unrelated legislation shifted those
responsibilities to the Defendant, Department of Health and Human Services. 2023 Iowa Acts ch.
19, §§ 281-82. Climbing Kites’ and Field Day Brewing’s products have been reviewed and
approved by the Department or DIA, as appropriate. (Selix Decl. ¶ 10; Caraher Decl. ¶ 10).

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on the status and regulation of cannabis-derived products since the passage of the 2018 Farm Bill

could fill numerous volumes of a treatise. See generally U.S. Food & Drug Ass’n, FDA Regulation

of Cannabis and Cannabis-Derived Products, Including Cannabidiol (CBD) (Feb. 6, 2024),

Hyperlink.

       At bottom, the FDA maintains its authority to regulate food products that contain cannabis-

derived ingredients but vaguely acknowledges that whether it is legal to sell such products depends

on the product’s intended use and how it is labeled and marketed. Id. (Questions and Answers 8

& 10) (“We are aware that state and local authorities are fielding numerous questions about the

legality of CBD.”). Whether and to what extent the FDA should provide further clarification for

product manufacturers has become a political football and the subject of numerous Congressional

hearings. See, e.g., U.S. House Committee on Oversight & Accountability, Hearing Wrap Up:

FDA’s Failure to Regulate CBD Threatens Consumer Access to Safe Products (July 28, 2023),

Hyperlink. As recently as April 2024, the FDA Commissioner testified the FDA would not

implement further regulation without Congressional action. See U.S. House Committee on

Oversight & Accountability, Oversight of the U.S. Food and Drug Administration (April 11,

2024), Hyperlink.

       By late 2023, state policymakers wished to address several emerging issues related to the

consumable hemp market. The Iowa Department of Public Safety, for example, believed the “cap”

on THC for consumables (less than or equal to 0.3% THC on a dry weight basis) should be

restricted to consider products that contain heavy or wet ingredients, common in consumables.

Iowa Dep’t of Pub. Safety, Consumable Hemp Pre-File Bill Request (November

27, 2023), Hyperlink. State officials therefore introduced a bill to place potency restrictions on

consumable hemp products: i.e., the maximum amount of THC within a food product. H.S.B. 665,



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90th G.A., 2d Sess. (Iowa 2024); S.S.B. 3159, 90th G.A., 2d Sess. (Iowa 2024). Initial legislation

gave the Department of Health and Human Services authority to “determine dose and

volume/serving size limitations via administrative rule.” Id. § 7. The introduced bill also modified

the Department’s preexisting authority to issue rules on packaging and labeling for hemp products.

Id. § 6.

           As is common, the legislation was amended significantly during the legislative process.

Importantly, the legislature removed the Department’s authority over serving and potency limits

and instead incorporated potency limits (“Potency Limits”) directly into the legislation.

Amendment H-8193 to Amendment H8134 to H.F. 2605, 90th G.A., 2d Sess. (Iowa 2024). Floor

statements from multiple legislators confirm the change was intended to remove any discretion of

the Department to set potency and serving limits. In the House, the bill’s floor manager stated the

agreed-upon potency limits represented a compromise to move the bill forward. See House Video

HF2605: H-8193 to H-8134 by Holt of Crawford, Iowa Legislature, at 4:53:25-4:53:55 PM (March

12, 2024), Hyperlink. Another representative stated:

           Like many bills and amendments in this building, we quite often do not get what
           we want, rather we get what we can get done. And that is this amendment. This
           amendment strikes two milligrams of THC and raises it to four milligrams per
           serving, and with a ten milligram max per container.

House Video HF2605: H-8193 to H-8134 by Sorenson of Adair, Iowa Legislature, at 4:52:35 to

4:52:55 PM (March 12, 2024), Hyperlink. “And ultimately,” that legislator continued, “this

[amendment] keeps us in the driver’s seat on setting limits, instead of faceless bureaucrats.” Id.

at 4:53:15 to 4:53:23 PM (emphasis added). Likewise, in the Senate, the bill’s floor manager

stated:

           The previous THC allotment was supposed to be done through rules. There was a
           sense of vagueness inside of that rulemaking authority of what the boundaries



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       would be, and therefore this amendment would put those boundaries on there as to
       four milligrams per serving and ten milligrams per container.

Senate Video SF2352: S-5116 by Dawson of Pottawattamie, Iowa Legislature, at 12:39:30 to

12:40:20 PM (April 2, 2024), Hyperlink.

       House File 2605 passed both chambers and was signed into law on May 17, 2024. 2024

Iowa Acts ch. 1176. As amended by House File 2605, Iowa Code § 204.2(c) will now provide in

relevant part:

       c. A hemp product is deemed to be a consumable hemp product if all of the
       following apply:
             …
           (2) Its maximum total tetrahydrocannabinol concentration is less than or
       equal to the lesser of the following:
                 (a) Three-tenths of one percent on a dry weight basis.
               (b) Four milligrams per serving and ten milligrams per container on a
       dry weight basis.

Id. § 2 (emphasis added). As amended, Iowa Code § 204.7(8)(a)(3) will now provide:

           (3) The consumable hemp product complies with packaging and labeling
       requirements, which shall be established by rules adopted by the department of
       health and human services. Each container storing consumable hemp shall be
       affixed with a notice advising consumers regarding the risks associated with its use.
       The department of health and human services shall adopt rules regarding the
       language of the notice and its display on the container.

Id. § 4. The Potency Limit in § 204.2(2)(c)(2)(b)—four milligrams per serving and ten milligrams

per container—and the Department’s packaging and labeling authority in Iowa Code

§ 204.7(8)(a)(3) (“Packaging and Labeling Authority”) are this litigation’s focus. HF2605 will

take effect on July 1—two weeks from now. See Iowa Code § 3.7(1).

       After the bill’s approval, the Department issued two versions of guidance for current

manufacturers and retail sellers to help “understand regulatory changes to the program that will be

in effect on July 1, 2024.” (Selix Decl. ¶ 12; Caraher Decl. ¶ 12). The Department’s initial



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guidance, issued May 24, effectively merged the per-serving and per-container Potency Limits

together, claiming that “a closed-container beverage shall be defined as one serving per container,

regardless of its ability to be re-sealed or the total fluid ounces it contains.” (Selix Decl. ¶ 13;

Caraher Decl. ¶ 13). The second, more recent Department guidance issued on June 7. Iowa Dep’t

of Health & Human Servs., Consumable Hemp: HF2605 FAQ – What it Means, Draft Rules,

Townhall Info (June 7, 2024) (hereinafter “Department Guidance”), Hyperlink.

       According to the most recent Guidance, the Department intends to implement Potency

Limits by defining “serving” as established in FDA regulations. Id. p. 1; see 21 C.F.R. § 101.12.

That means, for example, that despite the statute providing a hemp product may contain up to “ten

milligrams per container,” the Department has determined one 12-ounce can of Climbing Kites or

Day Dreamer may only include up to four milligrams of THC, because the FDA’s “serving size”

for some beverages is 12 fluid ounces. (Selix Decl. ¶ 15; Caraher Decl. ¶ 15). Curiously, the

Department’s guidance defines all beverages as containing a serving size of 12 fluid ounces,

despite the FDA establishing a smaller serving size for some beverages, such as 8 fluid ounces for

fruit juices. See 21 C.F.R. § 101.12 (heading “Fruits and Fruit Juices”). Moreover, even though

neither Iowa’s hemp statutes nor the FDA’s serving size rules include a minimum container size,

the Department will criminalize all beverage containers smaller than 12 fluid ounces. See

Department Guidance p. 1.2

       According to the Department, any products that do not conform to its proposed potency

limits, labeling requirements, or size restrictions will be a controlled substance beginning July 1.

Id. at 3. There will be no “grace period” for on-hand products not meeting its interpretation of the


2
  Many beverage companies, such as Coca-Cola or Pepsi, sell 8-ounce cans of soda. The FDA’s
recommended serving size is adjusted downward when a container contains less than the full
amount of a suggested serving size. (Selix Decl. ¶ 16; Caraher Decl. ¶ 16).

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new Potency Limits, and the Department noted that penalties “may range from a serious

misdemeanor to a class B felony, depending on the amount of product in [a registrant’s]

possession.” Id. at 3-4. Registrants “should be aware that the penalties for non-compliance … are

severe and HHS intends to enforce these new regulations when they become effective on July 1.

Registrants should expect enforcement activities on and on behalf of HHS.” Id. at 6 (emphasis

added). Regarding Packaging and Labeling Authority, the Department proposed the following

warning label information:

       This product has not been analyzed or approved by the United States Food and
       Drug Administration. There is limited information on the side effects of using this
       product, and there may be associated health risks and medication interactions.
       This product may cause the consumer to fail a drug test for THC. Products
       containing THC may cause impairment and a consumer’s ability to operate a
       vehicle. This product is not recommended for use by pregnant or breastfeeding
       women. KEEP THIS PRODUCT OUT OF REACH OF CHILDREN.

Id. at 2 (emphasis in original).

       On June 12, the Department filed a Notice of Intended Action, consistent with rulemaking

requirements under the Iowa Administrative Procedure Act, in an effort to implement the Potency

Limits and Packaging and Labeling Authority. ARC8064C (June 12, 2024), Hyperlink. Plaintiffs

filed this lawsuit following issuance of the Department’s Guidance and request temporary relief

prior to the effective date of HF2605 on July 1.

                                         ARGUMENT

       This dispute’s crux lies at the intersection of consumable hemp law and food labeling

regulation. Though relatively complex, the overlay of these areas of law confirms the Potency

Limits and Packaging and Labeling Authority within HF2605, to be codified at Iowa Code

§ 204.2(2)(c)(2)(b) and § 204.7(8)(a)(3), are preempted by the FDCA and, therefore, are void and

unenforceable.    Even if these provisions are not preempted, this Court should enjoin both

provisions under the doctrine of primary jurisdiction until the FDA issues regulatory guidance for

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consumable hemp products. And assuming those provisions are constitutional, the Department’s

interpretation of the Potency Limits is unreasonable and unlawful. The Court should grant

injunctive relief to prevent irreparable harm to Plaintiffs that will no doubt occur once HF2605

goes into effect.3

I.      LEGAL STANDARD

        The Eighth Circuit evaluates preliminary injunctions under the Dataphase factors.

Dataphase Sys., Inc. v. C L Sys. Inc., 640 F.2d 109, 114 (8th Cir. 1981). These factors include:

        (1) the movant’s probability of success on the merits, (2) the threat of irreparable
        harm to the movant absent the injunction, (3) the balance between the harm and the
        injury that the injunction's issuance would inflict on other interested parties, and (4)
        the public interest.

Pro Edge, L.P. v. Gue, 374 F. Supp. 2d 711, 734 (N.D. Iowa 2005), modified, 411 F. Supp. 2d

1080 (N.D. Iowa 2006); see also PFS Dist. Co. v. Radeuchel, 332 F. Supp. 2d 1236, 1244 (S.D.

Iowa 2004). As described in greater detail below, each of these factors is met here. Thus, an

injunction is appropriate.

II.     PLAINTIFFS ARE LIKELY TO SUCCEED IN THEIR CLAIMS.

        Although ‘no single factor is determinative,’ likelihood of success on the merits is ‘the

most significant.’” Katecho, Inc. v. Cont’l Mfg. Chemist, Inc., No. 4:18-cv-00314, 2018 WL

9814656, at *5 (S.D. Iowa Oct. 16, 2018) (quoting Home Instead, Inc. v. Florance, 721 F.3d 494,

497 (8th Cir. 2013)). A party need not demonstrate at this stage that it will win the case, nor must

it even demonstrate “it has a ‘greater than fifty percent’” chance of prevailing. Sleep Number

Corp. v. Young, 33 F.4th 1012, 1016 (8th Cir. 2022) (quoting D.M. ex rel. Bao Xiong v. Minn.



3
  Plaintiffs only challenge the newly enacted potency limits and the Department’s packaging and
labeling authority, which will be codified at Iowa Code § 204.2(2)(c)(2)(b) and § 204.7(8)(a)(3).
Any other provision of HF2605 can be severed from the unconstitutional provisions and take effect
on July 1. See Iowa Code § 4.12.

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State High Sch. League, 917 F.3d 994, 999 (8th Cir. 2019)). It simply must show it has a “fair

chance of prevailing.” Id. “To show a “fair chance of prevailing,” a party must show that its

claims provide “fair ground for litigation.” Id. at 1016-17 (quoting Watkins Inc. v. Lewis, 346 F.3d

841, 844 (8th Cir. 2003)). Put differently, “to weigh in the movant’s favor, the movant’s success

on the merits must be ‘at least … sufficiently likely to support the kind of relief it requests.’” Pro

Edge, 374 F. Supp. 2d at 748 (quoting Curtis 1000, Inc. v. Youngblade, 878 F. Supp. 1224, 1247

(N.D. Iowa 1995)).

       A.      The Law’s Potency Limits and Packaging and Labeling Authority Are Not Identical
               to Those Promulgated By the Food and Drug Administration for Consumable
               Hemp Products and Are Therefore Preempted.

       Under the United States Constitution’s Supremacy Clause, “state laws that conflict with

federal law are without effect.” Altria Grp., Inc. v. Good, 555 U.S. 70, 76 (2008). This includes

state laws enacted under traditional police powers, so long as it was “the clear and manifest purpose

of Congress” to preempt such a law. Ray v. Atlantic Richfield Co., 435 U.S. 151, 157 (1978)

(quoting Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947)).

       The FDCA is a comprehensive statutory scheme requiring uniform treatment of all food

products. See 21 U.S.C. § 343(q). For all food intended for human consumption and offered for

sale, the food’s label must include:

       the serving size which is an amount customarily consumed and which is expressed
       in a common household measure that is appropriate to the food, or…if the use of
       the food is not typically expressed in a serving size, the common household unit of
       measure that expresses the serving size of the food….

Id. § 343(q)(A)(i)-(ii); see 21 C.F.R. § 101.9 (requiring that “all nutrient and food component

quantities shall be declared in relation to a serving as defined in this section” (emphasis added)).

A food’s “serving,” in turn, is defined by the FDA’s “Reference amounts customarily consumed”

per eating occasion, or “RACCs” for short. See 21 C.F.R. § 101.12. The FDA’s RACCs—the


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same referenced by the Department in its June 7 guidance—account for nearly every type or

category of food imaginable. Id.

       Separately, the FDCA defines a “food additive” as any substance that, once combined with

food, “affect[s] the characteristics” of that food. 21 U.S.C. § 321(s). Once added, a “food

additive” becomes one component of the “food” regulated under the FDCA. See id. § 321(f)(3).

According to the FDA, food additives are deemed presumptively unsafe unless approved by the

FDA or “generally recognized as safe” (or “GRAS”). Id. § 321(s); id. § 348(a). However,

“Counsel who wishes to write an opinion or brief on ‘food additive’ status must be extremely

careful. The reader, client, or judge will need to be told that this term of art does not mean what

the simple terms mean.” Katharine A. Van Tassel, Definitions – Food additive, 1 Food and Drug

Admin. § 11:3 (2023-2) (West, Westlaw updated Nov. 2023). In other words, food additive or

GRAS determinations are highly technical and specialized. See id. § 11:4 (“This metaphysical

question is difficult to answer even after the author’s four decades in this field.”); see generally

U.S. Food & Drug Ass’n, Understanding How the FDA Regulates Food Additives and GRAS

Ingredients (June 6, 2024), Hyperlink. Suffice it to say, for purposes of this dispute, any direct or

non-incidental food additives, contained within a food, are required to appear on the food’s label

as an ingredient consistent with FDA regulations. 21 C.F.R. § 101.4(a)(1).

       The FDCA’s uniform labeling requirements also apply to all “health-related claims”

included on labels that “characterize[] the relationship of any nutrient…of the food to a disease or

a health-related condition.” 21 U.S.C. § 343(r)(1)(B). Those claims must meet “the requirements

of the regulations of the Secretary” promulgated under federal rules after the FDA determines there

is “significant scientific agreement, among experts qualified by scientific training and experience

to evaluate such claims, that the claim is supported by such evidence.” Id. § 343(r)(3)(A)-(B).



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       To ensure uniformity in the FDCA’s comprehensive framework, Congress included an

express preemption provision to clearly occupy the entire field of food labeling and ingredient

requirements—to the exclusion of any inconsistent state regulation. 21 U.S.C. § 343-1. In fact,

Congress could not have made clearer which state regulations are preempted under the FDCA:

“[A]ny requirement for nutrition labeling of food that is not identical to the requirement of section

343q of this title.” 21 U.S.C. § 343-1(a)(4) (emphasis added). “Not identical to” means the state

requirement:

       directly or indirectly imposes obligations or contains provisions concerning the
       composition or labeling of food, or concerning a food container, that … [a]re not
       imposed by or contained in the applicable provision … or … [d]iffer from those
       specifically imposed by or contained in the applicable provision.

21 C.F.R. § 100.1(c)(4). Similarly, Congress preempted “any requirement respecting “any claim

of the type described in section 343(r)(1) of [the FDCA] made in the label or labeling of food that

is not identical to the requirement of section 343(r) of [the FDCA].” 21 U.S.C. § 343-1(a)(5)

(emphases added).

       The preemption provisions of the FDCA clearly indicate Congress’s intent, and it is “well

established” that the FDCA preempts state laws or state-law claims to the extent they impose

requirements different than those prescribed by federal law—including serving size. Pardini v.

Unilever United States, Inc., 65 F.4th 1081 (9th Cir. 2023); see also Hi-Tech Pharm., Inc. v. HBS

Int’l Corp., 910 F.3d 1186, 1196 (11th Cir. 2018); Yonan v. Walmart, Inc., 591 F. Supp. 3d 1291,

1301–02 (S.D. Fla. 2022) (“Section 343(q) empowers the FDA to promulgate regulations for ‘the

number of servings … per container.’” (quoting 21 U.S.C. § 343(q)(1)(B))).

       Despite having authority to do so, the FDA has not imposed or otherwise offered any

definitive labeling or ingredient guidance related to food products that contain cannabis-derived

ingredients, including any required dosage or serving size. The FDA’s decision to not act on this


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threshold issue (i.e., food additive or not), is critical. It is unknowable whether the FDA will

characterize cannabis-derived ingredients in food as (1) an additive, (2) a standalone “type” of

food for purposes of RACCs, (3) similar to any other ingredient in a food item (and therefore

dependent upon another food’s RACC), (4) excluded from the FDCA, (5) similar to alcohol,

tobacco, or caffeine (with no RACC), or (6) something else entirely. Yet by enacting HF2605, the

legislature usurped the federal role by choosing an option (probably Option #1 or #3) to set limits

on the amount of total THC per serving and per container. The Potency Limits regulate “the

number of servings or other units of measure per container,” an area reserved for exclusive federal

regulation, 21 U.S.C. § 343(q)(1)(B), and are therefore preempted. See 21 C.F.R. § 100.1(c)(4)

(preempting any state requirement “concerning the composition or labeling of food, or concerning

a food container” when “not imposed by” the FDA).

       By the same token, the FDA has not issued conclusive determinations on the health and

safety labeling statements now required under Iowa law via HF2605. Rather, the FDA’s position

is there is not yet enough information to determine what health-related claims, if any, should

definitively appear on packaging for consumable hemp products. See U.S. Food & Drug Ass’n,

FDA Concludes that Existing Regulatory Frameworks for Foods and Supplements are Not

Appropriate for Cannabidiol, Will Work with Congress on a New Way Forward (Jan. 26, 2023),

Hyperlink (“Given the available evidence, it is not apparent how CBD products could meet safety

standards for dietary supplements or food additives.”). State-specific labeling requirements are

problematic when different states require substantially the same warnings but with slight

differences in language.4 Such requirements make it practically impossible for manufacturers to


4
  For example, the Department’s health-claims requirement differs from that of Tennessee. See,
e.g., Tenn. Admin. Code § 0080-10-02-.06(2)(a) (Notice of Rulemaking Authority submitted Dec.
14, 2023), Hyperlink.

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comply with each state’s idiosyncratic labeling requirements. Imagine the impossibility faced by

brewers or winemakers if all fifty states required a substantially identical (but distinct) surgeon

general’s warning on a case of beer or wine.

        Because Plaintiffs’ beverages are characterized as “food” “intended for human

consumption and … offered for sale,” there is no question Plaintiffs must comply with the FDA’s

content, packaging, and labeling requirements. 21 U.S.C. §§ 343(q), 343(r). But to comply with

state law, Plaintiffs must necessarily place content on its beverage labels that is “not identical to”

the composition, nutrition, or health-related information imposed by the FDCA. 21 U.S.C. §§ 343-

1(a)(4), 343-1(a)(5). Consequently, Plaintiffs will face liability for a misbranding claim under

federal law by complying with obligations under state law. And Plaintiffs will face liability far

into the foreseeable future: if and when the FDA issues guidance on cannabis-derived ingredients

in food products, Plaintiffs must comply with two regulatory frameworks for food labeling unless

and until the FDA’s requirements are “identical” to those enacted in HF2605. This is precisely

why Congress expressly gave the FDA sole authority to decide these issues. Hi-Tech Pharm., Inc.,

910 F.3d at 1195 (“Hi-Tech’s state-law claim is preempted because it would impose liability for

labeling that does not violate the Food, Drug, and Cosmetic Act or the regulations that carry it into

effect.”).

        The Court is particularly justified in striking down the state’s Potency Limits given what

we can glean from the FDA on this important issue. Although the FDA deliberately has not

imposed regulations for consumable hemp products in this space, if anything, the FDA indicated

it would do so by treating cannabis-derived ingredients as a food additive (subject to approval

through its additive or GRAS processes) and not as any other ingredient contained in a traditional

food product (which are subject to serving sizes or common units of measurement). U.S. Food &



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Drug Ass’n, FDA Regulation of Cannabis and Cannabis-Derived Products, Including Cannabidiol

(CBD) (Feb. 6, 2024), Hyperlink (Question & Answer 10). Accordingly, the FDA would consider

the appropriate measure of an acceptable intake of THC as an “acceptable daily intake,” (or

“ADI”)—not subject to the RACCs, as contemplated by state law. See U.S. Food & Drug Ass’n,

Understanding How the FDA Regulates Food Additives and GRAS Ingredients (June 6, 2024),

Hyperlink. Put differently, even if not preempted, the Department’s reliance on RACCs is

misplaced because it is contrary to the FDA’s indications on how hemp and THC likely will be

handled. HF2605’s Potency Limits characterize the issue as a serving of hemp based on milligrams

of THC consumed (i.e., a dosage), not based on the size or characteristics of the vehicle carrying

that dosage. This discrepancy makes it all the more important that the FDA, with its recognized

expertise, be responsible for setting such regulation as Congress intended. 21 U.S.C. § 343-1.

       The bottom line is that, while the FDA has clear authority to set the required or

recommended dosage of THC in food products, the information appearing on food labels, and what

health-related claims or warnings must appear on those same products, it has not done so. HF2605

establishes a Potency Limit of “four milligrams per serving and ten milligrams per container” and

requires health-related labeling on consumable products. These limitations “directly or indirectly

establish” requirements not identical to the FDCA, and those limitations “[a]re not imposed by or

contained in” the applicable provisions of the FDCA. 21 U.S.C. § 343-1(a)(4)–(5); 21 C.F.R.

§ 100.1(c)(4). Consequently, the Potency Limits and Packaging and Labeling Authority in

HF2605 are preempted by the FDCA.

       B.      The Law’s Potency Limits and Packaging and Labeling Authority Should Be
               Enjoined Until the FDA Issues Further Guidance on Consumable Hemp Products.

       Even if the state’s Potency Limits and Packaging and Labeling Authority were not

preempted, the Court should enjoin both provisions, at least temporarily, based on the doctrine of


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primary jurisdiction. The doctrine applies “where a claim is originally cognizable in the courts,

and comes into play whenever enforcement of the claim requires the resolution of issues which,

under a regulatory scheme, have been placed with the special competence of an administrative

body.” Alpharma, Inc. v. Pennfield Oil Co., 411 F.3d 934, 938 (8th Cir. 2005). In other words,

primary jurisdiction is used to coordinate judicial and administrative decision making. Access

Telecomm. v. Sw. Bell Tel. Co., 137 F.3d 605, 608 (8th Cir. 1998); see also Ravreby v. United

Airlines, Inc., 293 N.W.2d 260, 262 (Iowa 1980). “No fixed formula exists for applying the

doctrine of primary jurisdiction.” Chase v. Andeavor Logistics, L.P., 12 F.4th 864, 870 (8th Cir.

2021) (quoting United States v. W. Pac. R.R., 352 U.S. 59, 63 (1956)).

       Several courts across the country have stayed cases, citing the primary jurisdiction

doctrine, until the FDA provides formal guidance on food labeling requirements for products

containing cannabis-derived ingredients. In 2020, Florida enacted a law regulating CBD products,

including labeling requirements specifying the number of milligrams of hemp extract within a

product. Snyder v. Green Roads of Fla LLC, 430 F. Supp. 3d 1297, 1306 (S.D. Fla. 2020). A local

CBD manufacturer was sued by purchasers on a label-misrepresentation claim, alleging they were

overcharged for products. Id. at 1300. The district court, however, stayed the case pending

outcome of the FDA’s then-current rulemaking regarding regulatory oversight of CBD

“ingestible” products, noting the FDA had not yet promulgated CBD labeling regulations. Id. at

1306-07, 1309. The court relied on the primary jurisdiction doctrine, which defers judicial

decision-making on an issue that Congress placed within the jurisdiction of an administrative body,

pursuant to a statute that subjects an industry activity to a comprehensive regulatory scheme, and

requires expertise or uniformity in administration. Id. at 1308.

       The FDA regulations currently provide little guidance with respect to whether CBD
       ingestibles, in all their variations are food supplements, nutrients or additives and


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       what labelling standards are applicable to each iteration. Although the newly-
       enacted Florida Rule 5K-4.034 addresses CBD product labelling, the Court would
       benefit greatly from the FDA’s regulatory framework. Accordingly, the case will
       be stayed until the FDA completes its rulemaking regarding the marketing,
       including labelling, of hemp-derived ingestible products.

Id. at 1309 (citation omitted); see Ahumada v. Global Widget, LLC, No. 19-cv-12005, 2020 WL

5669032, at *2 (D. Mass. Aug. 11, 2020) (applying primary jurisdiction doctrine under similar

circumstances); Glass v. Global Widget, LLC, No. 2:19-cv-01906, 2020 WL 3174688, at *3 (E.D.

Cal. June 15, 2020) (same); Colette v. CV Sciences, Inc., No. 2:19-cv-10227, 2020 WL 2739861,

at *5 (C.D. Cal. May 22, 2020) (same); see also Ivie v. Kraft Foods Global, Inc., No. C-12-02554,

2013 WL 685372, at *7 (N.D. Cal. Feb. 25, 2013) (invoking the primary jurisdiction doctrine

“where the FDA has yet to speak on whether a particular label or claim on a consumer product is

unlawful or misleading”).

       To be sure, Plaintiffs believe the Potency Limits and Packaging and Labeling Authority

are preempted outright. But should the Court disagree, this Court should enjoin any enforcement

of those provisions until, at a minimum, the FDA provides this Court its specialized expertise on

appropriate or required potency limits of consumable hemp products and other required health-

related claims. Congress vested the FDA with exclusive authority to define and regulate those

areas for all food products, including those containing food additives such as hemp-derived THC.

This Court should temporarily restrain implementation of any state-law measures until technical

guidance issues from the FDA.

       Plaintiffs understand the decisions cited above stay the enforcement of a case—not a

statute—pending administrative review. But the doctrine does not depend on procedural posture:

“In every case the question is whether the reasons for the existence of the doctrine are present and

whether the purposes it serves will be aided by its application in the particular litigation.” Western

Pac. R. Co., 352 U.S. at 64. The stakes of this litigation are high: if Plaintiffs are correct and the

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statute misapplies applicable serving size, consumption, or labeling requirements, Plaintiffs will

face severe consequences including but not limited to being charged with felony crimes for

possessing “noncompliant” consumable hemp products.            See Department Guidance at 3-4.

Invoking the doctrine may add expense and delay, see Access Telecommunications, 137 F.3d at

608; however, under these circumstances it would ensure the state has not misapplied or

misinterpreted federal law at the expense of Plaintiffs’ basic constitutional freedoms. See Webster

v. Westlake, 587 F. Supp. 3d 846, 862-63 (S.D. Iowa 2021) (recognizing that the Fourth

Amendment protects an individual’s right to be free from unlawful arrest).

       C.      Even If Those Laws Are Constitutional, the Department’s Guidance Ignores the
               Potency Limits Chosen By the Legislature.

       Effective July 1, the Department will administer Iowa’s hemp laws according to its

Guidance. It will enforce its own interpretation of the Potency Limits, up to and including criminal

referrals, despite having no authority to interpret the law and having made no attempt to follow

the necessary rulemaking process. What was legal one day becomes illegal the next. The

Department will interpret “container” as any holder of beverage—unless the container is less than

12 fluid ounces. It will interpret “serving” according to its own misguided understanding of FDA

RACCs. The Department appears to fundamentally disregard the legislature’s directive that any

single-serving beverage container may contain “ten milligrams [of total THC] per container.” The

Department’s action must be stopped.

       Pursuant to the plain language of the statute, this Court must interpret the Potency Limits

as establishing an upper limit of “ten milligrams per container” regardless of the number of

servings—however defined—within that container. Despite defining the FDCA elsewhere in the

hemp statute, the legislature did not define “serving” according to FDA definitions. Even if it had

defined “serving,” the Potency Limits resemble an average daily intake amount akin to a dosage,


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not an amount dependent on the underlying food product’s RACC. If the FDA’s deliberate

inaction creates ambiguity in the term “serving” as to hemp products, so be it: a ten-milligram per-

container limit on consumable hemp products is unambiguous, reasonable, applies to all

consumable hemp products regardless of the means of consumption (i.e., ingestion or absorption),

and gives effect to the entire statute as enacted by the legislature.

               1.      As a Threshold Matter, the Department Lacks Authority to Interpret the
                       Potency Limits Through “Guidance” Posted On Its Website.

       If you give an agency a statute, it’s going to issue some guidance. See Laura Numeroff, If

You Give a Mouse a Cookie (1985). Here, the Department strayed too far. “‘[T]he legislative

authority of this state shall be vested in a general assembly…’—not the executive branch.” City

of Des Moines v. Iowa Dep’t of Transp., 911 N.W.2d 431, 434 (Iowa 2018) (quoting Iowa Const.

art. III, § 1). In other words, executive branch agencies lack authority to set policy any further

than the legislature permitted. Id. at 439; see Brakke v. Iowa Dep’t of Nat. Res., 897 N.W.2d 522,

533–34 (Iowa 2017) (“The power of the agency is limited to the power granted by statute.”); see

also Iowa Code § 17A.23(3). And even when such authority is delegated, the agency cannot

declare its own policy through bare “guidance”—it must follow the well-established rulemaking

process contained within the Iowa Administrative Procedure Act. See Iowa Code §§ 17A.3(2);

17A.4(5).

       First, to constitute lawful agency action, the Department must convince this Court it was

delegated authority to interpret the Potency Limits through rulemaking or otherwise. Brakke, 897

N.W.2d at 530-31. Delegation is not taken lightly, and any grant of rulemaking authority “shall

be construed narrowly.” Iowa Code § 17A.23. Here, the Department—quite clearly—does not




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have authority. The Hemp Act does delegate interpretative and rulemaking authority within the

Iowa Hemp Act in five narrow ways:

           Packaging and labeling requirements. HF2605, § 4 (to be codified at Iowa Code
            § 204.7(8)(a)(3)).
           Restrictions upon the sale or other distribution of a product. HF2605, § 5 (to be
            codified at Iowa Code § 204.7(8)(a)(4)).
           Registration and revocation of a registration for product manufacturers. Iowa Code
            § 204.7(8)(b).
           Registration and revocation of a registration for product sellers.          Iowa Code
            § 204.7(8)(c).
           Defining a “synthetic consumable hemp product.” HF2605, § 8 (to be codified at Iowa
            Code § 204.14A(1B)).

None of these items provide the Department authority to interpret the Potency Limits.

       We know the Department’s packaging and labeling authority does not encompass the

authority to set potency limits. Legislative history of HF2605 confirms setting potency limits was

a legislative decision, not an administrative one. The introduced version of HF2605 expressly

delegated the issue to the Department, in addition to amendments to the packaging and labeling

authority. HSB 665 §§ 6 & 7; SSB3159 §§ 6 & 7. The authority to set potency and serving limits

was expressly removed through subsequent amendments to HF2605. Amendment H-8193 to

Amendment H8134 to H.F. 2605, 90th G.A., 2d Sess. (Iowa 2024). The legislature knew how to

delegate authority on potency and serving limits to the Department; in the end, it simply—and

deliberately—decided not to. See Abbas v. Iowa Ins. Div., 893 N.W.2d 879, 889–890 (Iowa 2017)

(using prior bill versions and legislative amendments to determine legislative intent). Stated intent

from individual legislators confirms as much. See LS Power Midcontinent, LLC v. State, 988

N.W.2d 316, 337 (Iowa 2023) (using floor statements to determine the circumstances of a bill’s

passage).




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       Second, the Department’s action is unlawful because it did not even attempt to follow

proper rulemaking procedures prior to enforcing its interpretation of the Potency Limits. City of

Des Moines, 911 N.W.2d at 439-440. Compliance with Chapter 17A is required to ensure agency

action is “lawful, fully responsive to the popular will, and adequately coordinated to avoid conflict

and inconsistency.” Iowa Fed. of Labor, AFL-CIO v. Iowa Dep’t of Job Serv., 427 N.W.2d 443,

446 (Iowa 1988) (quoting A.E. Bonfield, State Administrative Rule Making §§ 8.4, at 550 (1986)).

As a result, agency action that does not substantially comply with the rulemaking process in 17A

is “not valid.” Iowa Code § 17A.4(5); see also id. § 17A.2(11) (defining a “rule” as including an

agency statement that “implements, interprets, or prescribes law or policy”).

       The Department’s guidance does not comply with Chapter 17A in any regard. Agencies

are not entitled to interpret new legislation on a whim, even if the agency must move promptly to

implement a law’s quickly approaching effective date. The legislature knows how to provide an

agency “emergency” rulemaking authority, and regularly does so through an express grant of

emergency rulemaking authority. See, e.g., 2024 Iowa Acts ch. 1090, § 14 (“EMERGENCY

RULES”). None was given here. Alternatively, the Department may seek the approval of the

legislature’s Administrative Rules Review Committee (or “ARRC”) to speed up the rulemaking

process. Iowa Code § 17A.4(2); id. § 17A.5(2)(b). Tellingly, the Department filed a notice of

intended action—the first step in any required rulemaking, if it were allowed—on June 12.

ARC8064C (June 12, 2024), Hyperlink. This indicates the Department knows how to promulgate

valid rules; it also confirms the Department’s rules—which implement its Guidance—will not be

in effect by July 1. See Iowa Code §§ 17A.4, 17A.5.

       The Department cannot circumvent Chapter 17A entirely, especially considering the

magnitude of the Department’s guidance in this case. Any other interpretation raises significant



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due process concerns, especially considering the severe civil and criminal penalties at stake. Cf.

Iowa Fed. of Labor, AFL-CIO, 427 N.W.2d at 447 (recognizing “serious due process questions”

when agency action is not judicially reviewable). Even if rulemaking were allowed, the Court

should stay the Department’s Guidance and enjoin any enforcement of HF2605 by the Department

until it engages in the appropriate rulemaking process for agency action. Iowa Code § 17A.19(5).

               2.     The Department’s Interpretation of the Potency Limits Is Unreasonable.
                      The Statute Unambiguously States a Container Can Hold Up to 10
                      Milligrams of THC.

       The Department’s guidance also is an unreasonable, unworkable interpretation of the

statute. At the outset, the Department is not entitled to deference in its interpretation—for the

same reason it has no rulemaking authority. The legislature did not “clearly vest” the Department

with the authority to interpret the statute. See NextEra Energy Res. LLC v. Iowa Utilities Bd., 815

N.W.2d 30, 37 (Iowa 2012). To the contrary, legislative history establishes the Potency Limits

were incorporated into the statute because the legislature did not want the Department creating its

own interpretation of the law. The Department has no “special expertise” to interpret or explain

what “serving” or “container” means. Id. at 37 (quoting Renda v. Iowa Civil Rts. Comm’n, 784

N.W.2d 8, 14 (Iowa 2010)). The Department does not establish serving sizes or container sizes in

the normal course and lacks the knowledge and expertise required to do so for these products.

       The Department’s Guidance criminalizes any consumable beverage in a container of less

than 12 fluid ounces. On what basis? House File 2605 is wholly silent on the container size in

which a product may be sold. The FDA does not mandate minimum container sizes. The

Department is attempting to add words to the statute—through unlawful guidance—that it wishes

the legislature would have included. Such an interpretation is unreasonable, especially when the

legislature expressly demonstrated a desire to chart its own course. See Auen v. Alcoholic Bev.

Div., 679 N.W.2d 586, 591 (Iowa 2004) (rejecting interpretation of a statute requiring a court to

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“read something into the law that is not apparent from the words chosen by the legislature”

(quoting State v. Guzman-Juarez, 591 N.W.2d 1, 2 (Iowa 1999))).

       The Department prohibits smaller beverage containers because it misreads federal

regulations. By the Department’s flawed logic, because all beverages have a recommended

serving size of 12 fluid ounces, no beverages can be sold in a container of less than 12 fluid ounces.

But not all beverages have a recommended serving size of 12 fluid ounces. Juice beverages, for

example, have a recommended serving size of eight fluid ounces. 21 C.F.R. § 101.12(b). Has the

legislature outlawed consumable hemp juices without saying so? There is no lawful authority for

this restriction. Similarly, manufacturers regularly package soft drinks in containers holding less

than 12 fluid ounces. Can manufacturers no longer do so for hemp-based products? What portion

of HF2605 makes an 8-ounce container a felony? The Department’s lack of specialized knowledge

related to food serving sizes, packaging, and labeling shows.

       In fact, the Department’s approach is categorically different than the FDA’s current

consideration of hemp- or cannabis-derived ingredients within consumables. The FDA—unlike

the Department—does have specialized knowledge of serving sizes, packaging, and labeling. A

“serving” of THC is not based on quantity of the underlying food product, such as a beverage or

solid food; rather, it should be considered a food additive—or a dosage—added to that product.

See U.S. Food & Drug Ass’n, FDA Regulation of Cannabis and Cannabis-Derived Products,

Including Cannabidiol (CBD) (Feb. 6, 2024), https://www.fda.gov/news-events/public-health-

focus/fda-regulation-cannabis-and-cannabis-derived-products-including-cannabidiol-cbd

(Questions and Answers 10).        The appropriate “serving” of THC, then, is based upon an




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“acceptable daily intake,” not the common household measure (RACC) for a soda, chocolate bar,

or a candy.5

       The legislature knew the foregoing when it passed HF2605.                For example, many

consumable food products are manufactured and packaged in a single-serving container. Yet in

those circumstances, it is difficult to reconcile the language “four milligrams per serving and ten

milligrams per container” with an interpretation that a “container” holding one serving cannot—

as it turns out—hold “ten milligrams per container.”              Under the Department’s flawed

interpretation, the term “ten milligrams per container” would be entirely read out of the statute,

which is disfavored. Cox v. Iowa Dep’t of Hum. Servs., 920 N.W.2d 545, 553 (Iowa 2018) (“When

interpreting the meaning of the statute, we give effect to all the words in the statute unless no other

construction is reasonably possible.” (quoting Oyens Feed & Supply, Inc. v. Primebank, 808

N.W.2d 186, 193 (Iowa 2011))); First State Bank v. Clark, 635 N.W.2d 29, 32 (Iowa 2001)

(recognizing that courts “do not interpret statutes to render any part superfluous”).

       The legislature knows how to reference federal law in the Hemp Act; indeed, the FDCA is

a defined term within Chapter 204. See Iowa Code § 204.2(7). Yet it did not choose federal

“serving size” definitions when setting the Potency Limits. Viewing THC as an additive—or a

dosage—was clearly the legislature’s intent. Louisiana, for example, defines “serving” as the

“amount of individual units or amount of liquid of a product recommended by the manufacturer to


5
  The FDA (quite obviously) does not issue a RACC for lotions and salves because those products
are not food. 21 C.F.R. § 101.12(b). However, those products are consumable hemp products.
See Iowa Code § 204(2)(d)(1) (defining “consumable hemp product” to include those “absorbed
through the skin, such as a topical application”). Because it is nonsensical to apply RACCs to
those consumables, and because there is no distinction in Iowa’s hemp statute among edible or
non-edible consumable hemp products, it is nonsensical to apply RACCs to any consumable hemp
product. Similarly, the amount of alcohol, tobacco, or caffeine in a product does not depend on
the serving size of the vehicle in which those substances are consumed. The dosage consumed is
the appropriate measure.

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be consumed at a single time.” La. Rev. Stat. 3:1481(11) (emphasis added). Other legislatures

have considered a serving definition dependent on an amount “reasonably suitable for a person’s

use in a single day.” H.B. 563, Part I (N.C. Gen. Assemb. 2023 Sess.). Those definitions, like the

language enacted in HF2605, resemble an average-daily-intake amount, not an amount dependent

on the underlying food product’s RACC. And until federal regulators set an established average

daily intake amount, the legislature could have conceivably intended that the product may contain

an amount “recommended by the manufacturer.” La. Rev. Stat. 3:1481(11). But in any event, the

legislature was clear that a product may contain up to ten milligrams per container.

       The FDA’s view that THC is a food additive creates some ambiguity in Iowa’s statute, but

only as to the meaning of “serving.” That’s the problem with the Department’s unlawful

interpretation: “serving” is the tail wagging the proverbial dog. See State v. Iowa Dist. Ct. for

Scott Cnty., 889 N.W.2d 467, 472 (Iowa 2017). By defining “serving” in a way that necessarily

affects the meaning of “container,” the Department keeps itself in the driver’s seat to establish

potency limits—a role the legislature did not intend the agency to play. The Department’s

interpretation might be reasonable with a statute that provides a limit of “ten milligrams per

container, so long as the container holds a minimum of 30 fluid ounces in the case of a beverage.”

No such language exists, and the Department may not add it.

       “Container,” on the other hand, is an unambiguous term. It means a “receptacle (as a box

or jar) or a formed … covering for the packing or shipment of articles, goods, or commodities.”

receptacle or a flexible covering for the shipment of goods.” Webster’s Third New Int’l Dictionary

490 (3d ed. unabridged 1976). A beverage can defined as a “container.” See id. The per-container

limit of HF2605 is easily applied and has reasonable limits. Indeed, in Minnesota, a consumable

beverage can contain up to two five-milligram servings of THC “per container,” i.e., ten



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milligrams per container. Minn. Stat. § 151.72(5a)(f); see Iowa Ins. Institute v. Core Grp. of Iowa

Ass’n for Justice, 867 N.W.2d 58, 77 (Iowa 2015) (considering the rule in other jurisdictions when

interpreting a statute).

        The rule of lenity must also be considered because any difference of opinion is the

difference between lawful business and potential imprisonment. State v. Middlekauff, 974 N.W.2d

781, 793 (Iowa 2022); cf. State v. Mathias, 936 N.W.2d 222, 238 (Iowa 2019) (Mansfield, J.,

dissenting) (“Criminal statutes ought to give fair notice to the public of the conduct that is

prohibited; we enforce that concept through the rule of lenity.”). Relatedly, Plaintiffs have a

constitutional right to fair warning of conduct that is prohibited by this statute.          Planned

Parenthood of Greater Iowa, Inc. v. Miller, 1 F. Supp. 2d 958, 961-62 (S.D. Iowa 1998). A statute

is void for vagueness “if people of ‘ordinary intelligence’ are forced to guess at the meaning of the

statute and differ as to its application.” Id. at 962 (quoting Grayned v. City of Rockford, 408 U.S.

104, 108 (1972)). Here, the Department purports to make and enforce criminal law via “guidance”

posted to its website. It presents a problem of constitutional magnitude for Plaintiffs to face felony

charges for selling products containing “ten milligrams per container” based on a statute that

permits the sale of products containing “ten milligrams per container.”

        At bottom, the Department impermissibly interpreted the legislature’s Potency Limits to

cause something the legislature did not say. The legislature could have delegated authority to the

Department to define “serving” or “container,” but it did not. The legislature could have

referenced federal RACC regulations to define “serving” or “potency,” but it did not. What it did

provide—unambiguously—is a statement that a consumable hemp container may include “ten

milligrams per container”—notwithstanding any uncertainty, ambiguity, or shadow of a doubt as

to the meaning of “serving.” As applied to Plaintiffs’ sale of products, and considering the stakes



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involved, if preemption is not found, this Court must interpret the Potency Limits of HF2605 as

establishing an upper limit of ten milligrams per “container” regardless of the number of

servings—however defined—within that container.

III.    THE POSSIBILITY OF CRIMINAL LIABILITY IS SIGNIFICANT AND
        IRREPARABLE HARM.

        Effective July 1, the Department will begin to administer and enforce the provisions of

HF2605. Pursuant to the Department’s Guidance, between 72% and 77% of Plaintiffs’ current

inventory will become illegal and subject Plaintiffs to potential criminal liability on July 1. (Selix

Decl. ¶ 17; Caraher Decl. ¶ 17). Products that account for between 89% to 90% of Plaintiffs’

revenue will become illegal. (Selix Decl. ¶ 18; Caraher Decl. ¶ 18). 83.33% of Climbing Kites’

previously planned production for July are no longer cancellable and set to become illegal. (Selix

Decl. ¶ 19). Absent Court intervention, the Department’s guidance indicates it may pursue civil

or criminal penalties immediately, including felony charges. Indeed, the Department stated the

penalty for noncompliance with its Guidance will be “severe.” Department Guidance p. 6.

        Under these circumstances, Plaintiffs demonstrate irreparable harm. See Packard Elevator

v. I.C.C., 782 F.2d 112, 115 (8th Cir. 1986) (requiring proof that irreparable harm is imminent and

there is a clear and present need for equitable relief); Mga Susu, Inc. v. County of Benton, 853

F. Supp. 1147, 1154 (D. Minn. 1994) (granting injunctive relief in part because nothing prevented

the defendants from civil enforcement or criminal prosecution absent such relief); Bio Gen, LLC

v. Sanders, No. 4:23-cv-00718, 2023 WL 5804185, at *8 (E.D. Ark. Sept. 7, 2023) (finding

irreparable harm in not enjoining hemp regulations argued to be preempted by federal law where

substantial lost profits and criminal liability could ensue).




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IV.    PLAINTIFFS WILL BE GREATLY HARMED IF AN INJUNCTION IS NOT
       ISSUED, BUT THE DEPARTMENT WILL MERELY NEED TO ENFORCE THE
       LAW—AS CURRENTLY ENACTED—WHICH IS CONSISTENT WITH
       FEDERAL LAW.

       A significant portion of the Department’s Guidance focuses on its application of the

Potency Limits. However, should an injunction issue, the Department will simply be asked to

regulate at the same level at which it currently regulates—and has, for the past four years—related

to potency levels and label requirements for consumable hemp products. There is no “harm” to

the Department, in this respect.

       To the extent the Department’s harm sounds in “public safety,” Plaintiffs note that

Congress expressly preempted the state’s Potency Limits and Packaging and Labeling Authority.

In our constitutional order, and consistent with the U.S. Constitution’s Supremacy Clause,

Congress is entitled to do so under these circumstances. See Medtronic, Inc. v. Lohr, 518 U.S.

470, 485 (1996) (recognizing that the “‘purpose of Congress is the ultimate touchstone’ in every

pre-emption case” (quoting Cipollone v. Liggett Grp., Inc., 505 U.S. 504, 516 (1992))). At times,

the rule of law requires a state regulation—even enacted under a state’s police powers—be

superseded by federal law when it was the clear and manifest intent of Congress to do so. Altria

Grp., Inc., 555 U.S. at 77.

V.     INJUNCTIVE RELIEF UNDER THESE CIRCUMSTANCES RESPECTS PUBLIC
       POLICY BY PROVIDING CONSISTENT REGULATION IN A COMPLEX
       REGULATORY ENVIRONMENT.

       Plaintiffs understand one purpose of enacting the state’s Potency Limits and amending the

Department’s Packaging and Labeling Authority was to add clarity to Iowa’s consumable hemp

laws. But considering the intent of Congress and the FDA in enacting a comprehensive regulatory

scheme related to food labeling and ingredient requirements, in effect, the disputed provisions

begin the state down a path of patchwork and idiosyncratic regulation in that same regulatory


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environment. That is the precise purpose for Congress expressly preempting such regulation.

Public interest favors certainty and reliability in this area.

                                           CONCLUSION

        Beginning July 1, 2024, the Department is set to interpret, enforce, and otherwise

administer Iowa’s consumable hemp laws to include a Potency Limit as enacted in Section 2 of

House File 2605, to be codified at Iowa Code § 204.2(2)(c)(2)(b), and Packaging and Labeling

Authority as enacted in Section 4 of House File 2605, to be codified at Iowa Code § 204.7(8)(a)(3).

Both provisions violate the Supremacy Clause of the United States Constitution, or otherwise

conflict with an area of federal regulation in which the FDA should decide—as a matter of first

impression—the technical or specialized components of such regulation prior to judicial

intervention. The statute, as written and interpreted by the Department, will irreparably harm

Plaintiffs. Accordingly, Plaintiffs respectfully request the Court issue a preliminary injunction

striking down the identified provisions of House 2605, or alternatively, preventing the Department

from interpreting, enforcing, or otherwise administering Iowa’s consumable hemp laws to include

a Potency Limit or Packaging and Labeling Authority not identical to federal requirements or

otherwise consistent with the plain language of House File 2605.

        Dated this 17th day of June 2024.           Respectfully submitted,

                                                    BELIN McCORMICK, P.C.



                                                    Michael R. Reck
                                                    Christopher J. Jessen
                                                    666 Walnut Street, Suite 2000
                                                    Des Moines, IA 50309-3989
                                                    Telephone: (515) 283-4645
                                                    Facsimile: (515) 558-0645
                                                    mrreck@belinmccormick.com
                                                    cjessen@belinmccormick.com
                                                    ATTORNEYS FOR PLAINTIFFS

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